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                             Exhibit B
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 22-MJ-8332-BER


   IN RE SEALED SEARCH WARRANT                                    EX PARTE AND UNDER SEAL

   ___________________________________/



          UNITED STATES’ SEALED, EX PARTE MOTION TO RECONSIDER
     THE COURT’S ORDER TO UNSEAL THE DOCUMENT DOCKETED AS ECF #147

          The United States hereby moves this court to reconsider, in part, its Order of July 5, 2023

   (ECF # 154). In that Order, the Court held that the June 12, 2023 Order (ECF # 147) “does not

   reveal grand jury material or investigative sources or methods. As such, it can be unsealed without

   compromising legitimate government interests.” Order on Motion to Unseal, July 5, 2023 (ECF

   #154 at 2). For the reasons that follow, the government respectfully submits that the interests of

   justice support the Court’s reconsideration of its decision.

          1.      A motion for reconsideration is appropriate where (1) an intervening change in

   controlling law has occurred; (2) new evidence has been discovered; or (3) there is a need to correct

   clear error or prevent a manifest injustice. PNCEF, LLC v. Highlander Enterprises, LLC, No. 09-

   80974-CIV, 2010 WL 11504756, at *1 (S.D. Fla. Sept. 27, 2010), quoting Williams v. Cruise Ships

   Catering & Svc. Int'l, N.V., 320 F. Supp. 2d 1347, 1357-58 (S.D. Fla. 2004); Sussman v. Salem,

   Saxon & Nielsen, P.A., 153 F.R.D. 689, 694 (M.D. Fla. 1994). “In order to reconsider a ruling,

   there must be a reason why the court should reconsider its prior decision, and the moving party

   must set forth facts or law of a ‘strongly convincing nature’ to induce the court to reverse its prior

   decision.” PNCEF at *1, quoting Sussman. The government submits that such strong and

   convincing arguments exist here for the continued sealing of the Order in question.

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          2.      In its Response to the Media Intervenors’ Renewed Motion for Further Unsealing,

   the United States argued that the Motion and Order docketed at ECF #146 and #147 should remain

   sealed because they related exclusively to discovery matters and because they reveal the existence

   of eight search warrants, only one of which – the search at issue in the instant proceeding – has

   been publicly disclosed. The other seven searches remain entirely under seal. See United States’

   Sealed, Ex Parte Response (ECF # 153) at 2 (the motion and order should remain sealed “as they

   solely concern discovery matters and reveal the existence of and details about multiple sealed

   search warrants”); 8 (“With the exception of the search warrant at issue here, these search warrants

   had previously been entirely under seal, and the government had not disclosed their existence to

   the public”); 12 (“[T]he order discloses the case captions for all of the sealed search warrants.”)

   The Court, in its July 5, 2023 Order, addressed the first of the government’s rationales for sealing,

   the discovery-related nature of both documents, but did not address the latter rationale, i.e., that

   unsealing the Order would reveal the existence of seven search warrants that remain sealed and

   which the government has never disclosed.

          3.      The interests of justice favor keeping the Order at ECF #147 sealed in its entirety

   due to the list of sealed docket numbers that it would reveal.




                                                                             Although the affidavits in

   those dockets remain sealed, the risk of disclosure increases with each unsealing. The government,

   accordingly, has never publicly revealed the existence of any of its search warrant applications, or

   even the number of warrants at issue; it sought a limited unsealing of the instant search warrant

   application only after the former President publicly revealed its existence. Like the motion at ECF



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   #146, therefore, unsealing the Order would indeed reveal “investigative steps that have not yet

   been made public.” July 5 Order, ECF #154 at 2.

          4.      Redacting the Order at ECF #147 is not a practical alternative here. A large black

    box that clearly covers more than one docket number would effectively disclose that multiple

    dockets are referenced.    Similarly, the body of the Order, in multiple places, talks about

    “warrants” and “affidavits” in the plural. See ECF #147. A redacted version of the Order,

    therefore, would not only give away the fact of multiple warrants, but it would also leave little

    meaningful information unredacted. When the redactions necessary to protect a sealed document

    are so heavy as to make the released versions incomprehensible and unintelligible, the entire

    document should remain sealed. United States v. Steinger, 626 F. Supp. 2d 1231, 1237 (S.D. Fla.

    2009). That is the case with this one-paragraph document.

          5.      The public interest will not suffer if the Court agrees to reconsider its prior ruling

   and maintain the current sealing. Indeed, the Court has already given the public an understanding

   of the nature of the Order. The Court explained in its decision that the Order “related to unsealing

   materials for the limited purpose of allowing the Government to provide those materials as

   discovery in case number 23-CR-80101-AMC,” July 5 Order at 2, and that the Order “is not

   discovery material nor does it disclose the contents of any discovery material.” That information

   fairly describes the entire substance of the Order, apart from the docket information that the

   government seeks to keep sealed. Accordingly, unsealing the Order would reveal undisclosed

   investigative steps of the government, but would otherwise add little information to what the Court

   has already provided in its decision.




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          6.      For all the foregoing reasons, the government respectfully requests that the Court

   reconsider in part its Order of July 5, 2023 and maintain the Order at ECF #147 under seal.



                                                       Respectfully submitted,



                                                       /s/ Elizabeth J. Shapiro
                                                       ELIZABETH J. SHAPIRO (D.C. Bar No.
                                                       418925)
                                                       LESLIE COOPER VIGEN
                                                       United States Department of Justice
                                                       Civil Division, Federal Programs Branch
                                                       1100 L Street, NW
                                                       Washington, DC 20005
                                                       Tel.: (202) 514-5302
                                                       Email: Elizabeth.Shapiro@usdoj.gov




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